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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8        STATE OF WASHINGTON,                               Case No. 2:20-cv-1231-RSL
 9                                    Plaintiff,             STATUS REPORT AND
10                                                           STIPULATED MOTION
                         v.
11
          UNITED STATES OFFICE OF
12        MANAGEMENT AND BUDGET,
13
                                      Defendant.
14

15

16           The parties, by and through their counsel of record, hereby STIPULATE AND AGREE

17   to the following:

18   1.      This case involves a February 3, 2020 Freedom of Information Act (“FOIA”) request made

19   by the Washington State Attorney General’s Office related to the National Archives at Seattle.

20   2.      As the Court is aware, the parties have conferred and resolved disputed issues between

21   them such that the only remaining issue pertains to Plaintiff’s request for attorney’s fees and costs.

22   Dkt. 15. The parties are continuing to attempt to reach a negotiated resolution on this issue.

23   Plaintiff intends to provide Defendant with a request for attorney’s fees and costs along with its

24   billing records by October 15, 2021. Defendant does not stipulate that Plaintiff is eligible or

25   entitled to attorney’s fees and costs, but the parties agree to confer in good faith to try and reach

26   a negotiated resolution so as to avoid unnecessary motions practice. The parties jointly request

27   additional time to try and reach a negotiated resolution on these issues. The parties agree and

28   STATUS REPORT AND STIPULATED MOTION                                     UNITED STATES ATTORNEY
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 1   stipulate that there is good cause to provide this Court with a status update regarding progress

 2   towards resolution within 60 days.

 3   3.     Based on the good cause identified above, and in order to try to conserve judicial resources,

 4   the parties jointly propose to provide this Court with a status update and/or propose a stipulated

 5   briefing schedule within 60 days. Should resolution not be possible, the parties reserve their rights

 6   to file a motion in advance of 60 days.

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 8   IT IS SO STIPULATED, THROUGH PARTIES OF RECORD.

 9
     DATED this 27th day of September, 2021.
10

11   TESSA M. GORMAN                                       ROBERT W. FERGUSON
12   Acting United States Attorney                         Attorney General

13   s/ Katie D. Fairchild                                 s/ Lauryn K. Fraas
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19   Attorneys for Defendant                               Attorneys for Plaintiff
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28   STATUS REPORT AND STIPULATED MOTION                                    UNITED STATES ATTORNEY
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 1                                         ORDER

 2        IT IS SO ORDERED.

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          Dated this 28th day of September, 2021.
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 6                                                  ROBERT S. LASNIK
                                                    United States District Judge
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28   STATUS REPORT AND STIPULATED MOTION                            UNITED STATES ATTORNEY
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